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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                              District of Colorado
                                                                         )
              UNITED STATES OF AMERICA                                   )    JUDGMENT IN A CRIMINAL CASE
                                   v.                                    )
                                                                         )
                                                                         )    Case Number:         15-cr-00196-REB-1
              RANDIRAY DAVID DELACRUZ                                    )    USM Number:          41162-013
                                                                         )
                                                                         )    John M. Richilano
                                                                         )    Defendant’s Attorney
THE DEFENDANT:
☒ pleaded guilty to count(s)        One of the Indictment
☐ pleaded nolo contendere to count(s)
  which was accepted by the court.
☐ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                     Offense Ended              Count

18 U.S.C. § 922(g)(1) and
924(g)(2)                         Felon in Possession of a Firearm and Ammunition                         04/07/2015                One




       The defendant is sentenced as provided in pages 2 through             7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s)                                             ☐ is     ☐    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      January 18, 2017
                                                                      Date of Imposition of Judgment



                                                                      s/Robert E. Blackburn
                                                                      Signature of Judge




                                                                      Robert E. Blackburn, Senior U.S. District Judge
                                                                      Name and Title of Judge


                                                                       January 19, 2017
                                                                      Date
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AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                    Judgment — Page        2   of       7
 DEFENDANT:                    RANDIRAY DAVID DELACRUZ
 CASE NUMBER:                  15-CR-00196-REB-1

                                                              IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: Fifty-one (51) months




      ☒    The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be designated to FCI Englewood, and that he receive mental health evaluation and treatment, and that he be
           allowed to participate in RDAP.



      ☒    The defendant is remanded to the custody of the United States Marshal.

      ☐    The defendant shall surrender to the United States Marshal for this district:
           ☐      at                                      ☐      a.m. ☐        p.m.   on                                                    .
           ☐      as notified by the United States Marshal.

      ☐    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ☐      before 2 p.m. on                                        .
           ☐      as notified by the United States Marshal.
           ☐      as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 at                                                , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                              By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release

                                                                                                     Judgment—Page    3    of        7
DEFENDANT:                  RANDIRAY DAVID DELACRUZ
CASE NUMBER:                15-CR-00196-REB-1

                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of : three (3) years




                                                    MANDATORY CONDITIONS

1.    The defendant shall not commit another federal, state, or local crime.

2. The defendant shall not possess a firearm, ammunition, or destructive device as defined in 18 U.S.C. § 921 or any other dangerous
weapon prohibited by law.

3.    The defendant shall cooperate in the collection of DNA as directed by the probation officer.

4. The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on supervision and two periodic tests thereafter.




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release

                                                                                              Judgment—Page          4      of            7
DEFENDANT:                     RANDIRAY DAVID DELACRUZ
CASE NUMBER:                   15-CR-00196-REB-1

                                       STANDARD CONDITIONS OF SUPERVISION
It is therefore recommended that the Court order that while on supervision, the defendant shall comply with the following standard
conditions of supervision:

1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)   the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician. Except as authorized by court
order, the defendant shall not possess, use or sell marijuana or any marijuana derivative (including THC) in any form (including edibles)
or for any purpose (including medical purposes). Without the prior permission of the probation officer, the defendant shall not enter any
marijuana dispensary or grow facility;

8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;


10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement; and

14) the defendant shall provide access to any requested financial information.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 3D — Supervised Release

                                                                                            Judgment—Page    5     of       7
DEFENDANT:                 RANDIRAY DAVID DELACRUZ
CASE NUMBER:               15-CR-00196-REB-1

                                        SPECIAL CONDITIONS OF SUPERVISION
    1.    The defendant shall participate in a cognitive behavioral treatment (CBT) program as directed by the probation
          officer until such time as the defendant is released from the program by the probation officer. The defendant shall
          pay the cost of treatment as directed by the probation officer.
    2.    The defendant shall participate in and successfully complete a program of testing and/or treatment for substance
          abuse, as approved by the probation officer, until such time as the defendant is released from the program by the
          probation officer. The defendant shall abstain from the use of alcohol or other intoxicants during the course of
          treatment and shall pay the cost of treatment as directed by the probation officer.
    3.    The defendant shall participate in and successfully complete a program of mental health treatment, as approved by
          the probation officer, until such time as the defendant is released from the program by the probation officer. The
          defendant shall pay the cost of treatment as directed by the probation officer.
    4.    The defendant shall remain medication compliant and shall take all medications that are prescribed by his treating
          psychiatrist. The defendant shall cooperate with random blood tests as requested by his treating psychiatrist and/or
          supervising probation officer to ensure that a therapeutic level of his prescribed medications is maintained.
    5.    The defendant shall not associate with or have contact with any gang members and shall not participate in gang
          activity, to include displaying gang paraphernalia.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties

                                                                                                        Judgment — Page     6      of       7
 DEFENDANT:                         RANDIRAY DAVID DELACRUZ
 CASE NUMBER:                       15-CR-00196-REB-1

                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                   JVTA Assessment*               Fine                       Restitution
 TOTALS            $ 100.00                      $ 0.00                          $ 0.00                     $ 0.00


☐ The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

 Name of Payee                                 Total Loss**                       Restitution Ordered                     Priority or Percentage




 TOTALS                                $                                     $
☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ☐ the interest requirement is waived for the               ☐ fine   ☐ restitution.

    ☐ the interest requirement for the            ☐     fine    ☐ restitution is modified as follows:
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       7      of           7
 DEFENDANT:                  RANDIRAY DAVID DELACRUZ
 CASE NUMBER:                15-CR-00196-REB-1
                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ☐ Lump sum payment of $                                   due immediately, balance due

            ☐     not later than                                     , or
            ☐     in accordance with ☐         C,       ☐   D    ☐          E, or ☐ F below; or

 B    ☒ Payment to begin immediately (may be combined with ☐                      C,     ☐ D, or       ☐ F below); or

 C    ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

 D    ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    ☐ Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    ☐ Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


 ☐    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.



 ☐    The defendant shall pay the cost of prosecution.

 ☐    The defendant shall pay the following court cost(s):

 ☒    The defendant shall forfeit the defendant’s interest in the following property to the United States:
      Intratech 9mm. pistol bearing serial no D007320, and any ammunition associated with such pistol

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
